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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF NEW YORK                                             FiLED
                                                                              -X         IN CLERKS OFFICE
                                                                                   U5. DISTRICT COMPT FD. N.Y,
                COMMACK SELF-SERVICE KOSHER
                MEATS,INC., d/b/a COMMACK KOSHER,
                                                                                                 'I'            "
                BRIAN YARM EISCH and JEFFREY YARMEISCH,
                                                                                    '■   P.M..
                                                                                   TIME A.M. ,
                                                     Plaintiffs


                       - against                                            JUDGMENT
                                                                          96-CV-179 (NG)

                RABBI SCHU .EM RUBIN,as Director ofthe
                Kosher Law Eijiforcement Division ofTHE NEW
                YORK STATE DEPARTMENT OF AGRICULTURE
                ANDMARKETS,
                                                     Defendant,

                         and


                HON. SHELD 3N      SILVER, THE UNION OF
                ORTHODOX EWISH CONGREGATIONS OF
                AMERICA, ABE ALPER, JON GREENFIELD,
                JACK LEE,            MOSHE PORTNOY, RICHARD
                SCHWARTZ, [aGUDATH HARABONIM OF THE
                UNITED STATES AND CANADA, AGUDATH
                ISRAEL OF AMERICA, NATIONAL COUNCIL OF
                YOUNG ISRi4EL, RABBINICAL ALLIANCE OF
                AMERICA, RABBINICAL COUNCIL OF AMERICA,
                TORAHUME SORAH NATIONAL SOCIETY OF
                HEBREW DA Y SCHOOLS, UNION OF ORTHODOX
                JEWISH CON GREGATIONS OF AMERCA,


                                                     Defendants-Intervenors


                                                                              -X


                  ^    AnOpi nion and Order of the Honorable Nina Gershon, United States District Judge,

                having been file d on July 28,2000, granting the plaintiffs' motion for summary judgment with

                respect to their claims regarding New York Agriculture & Markets Law §§ 201-a, 201-b(l),

                201-c, 201-e (2 a) and (3-c), 201-f, 201-h, and 26-a on the ground that, on their face, they




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                violate the Establishment Clause and are therefore unconstitutional; denying defendants' and

                intervenors' motionsfor summaryjudgment;and,directing the Clerk ofCourtto enterjudgment

                declaring those statutes unconstitutional and permanently enjoining defendants from enforcing
                                 I

                them; it is

                        ORDEFJED and ADJUDGED that the plaintiffs are awarded judgment declaring that

                NewYork Agri(culture & Markets Law §§ 201-a,201-b(l),201-c, 201-e(2-a)and (3-c),201-f,

                201-h,and 26-a are unconstitutional on their face in that they violate the Establishment Clause;

                and it is further ORDERED and ADJUDGED that the defendant is permanently enjoined from

                enforcing them



                 •/hlACd
                NINA GERSHON
                UNITED STA ES DISTRICT JUDGE



                                                              ROBERT C. HEINEMANN
                                                              CLERK OF COURT


                       by


                                                              J^ES GIOKAS'
                                                              CHIEF DEPUTY CLERK


                Dated: Brooklyn, New York
                       July 31., 2000




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